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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

GRAPHIC PACKAGING INTERNATIONAL, INC.,

              Plaintiff,
                                                         C.A. No. 15-482-GMS
       v.

INLINE PACKAGING, LLC,

              Defendant.



                            MOTION TO TRANSFER VENUE

       Defendant Inline Packaging, LLC (“Inline”) respectfully moves the Court to transfer this

case to the District of Minnesota pursuant to 28 U.S.C. § 1404(a). This motion is brought based

upon Inline’s accompanying memorandum of law, declarations in support, and applicable law.

Date: July 6, 2015                                 /s/ Kenneth L. Dorsney
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